902 F.2d 1567Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Daniel WHISENANT, Plaintiff-Appellant,v.Ottie ATKINS, Sheriff, Cabell County, West Virginia,Defendant-Appellee.
    No. 89-6345.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 18, 1990.Decided April 20, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Huntington.  Charles H. Haden, II, Chief District Judge.  (C/A No. 89-827)
      Daniel Whisenant, appellant pro se.
      Robert Carter Elkins, Campbell, Woods, Bagley, Emerson, McNeer &amp; Herndon, Huntington, W.V., for appellee.
      S.D.W.Va.
      DISMISSED.
      Before PHILLIPS, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Daniel Whisenant seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Whisenant v. Atkins, CA-89-827 (S.D.W.Va. Nov. 15, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    